     Case 2:22-cr-00205-JFW Document 94 Filed 05/19/22 Page 1 of 2 Page ID #:299




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       Federal Public Defender
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       CARLEISHA NEOSHA PLUMMER
7
                                 UNITED STATES DISTRICT COURT
8
                             CENTRAL DISTRICT OF CALIFORNIA
9
                                       WESTERN DIVISION
10
11
12     UNITED STATES OF AMERICA,                       Case No. CR 22-205-JFW-2
13                  Plaintiff,                         EX PARTE APPLICATION TO
                                                       RELIEVE THE OFFICE OF THE
14           v.                                        FEDERAL PUBLIC DEFENDER
                                                       AND APPOINT NEW COUNSEL
15     CARLEISHA NEOSHA PLUMMER,
16                  Defendant.
17
18           Carleisha Neosha Plummer, through her counsel, files this ex parte application
19     seeking appointment of new counsel based on a conflict of interest. This application is
20     based on the attached declaration of counsel, all files and records in this case, and such
21     further information as may be provided to the Court.
22
23                                            Respectfully submitted,
24                                            CUAUHTEMOC ORTEGA
                                              Federal Public Defender
25
26     DATED: May 19, 2022                    By /s/ Howard Shneider
27                                            Howard Shneider
                                              Deputy Federal Public Defender
28
     Case 2:22-cr-00205-JFW Document 94 Filed 05/19/22 Page 2 of 2 Page ID #:300




1                          DECLARATION OF HOWARD SHNEIDER
2            I, Howard Shneider, declare as follows:
3            1.     I am a Deputy Federal Public Defender in the Central District of California
4      appointed to represent defendant Carleisha Neosha Plummer in this case.
5            2.     Ms. Plummer is charged by indictment with conspiracy to commit wire
6      fraud, bank fraud, and aggravated identity theft.
7            3.     On May 18, 2022, Amy Karlin, Chief Deputy Federal Public Defender,
8      determined that our office cannot represent Ms. Plummer due to a conflict of interest,
9      based on information our office learned that day. Ms. Karlin instructed me to apprise
10     the Court that there is a conflict of interest, to apply for relief from representation, and
11     seek appointment of conflict-free counsel for Ms. Plummer.
12           4.     Based on the foregoing, I respectfully request that the Court relieve the
13     Office of the Federal Public Defender from representation of Ms. Plummer and appoint
14     her counsel from the Criminal Justice Act Panel. Should the Court require more
15     information, the defense will seek to produce such information in camera.
16           I declare under penalty of perjury under the laws of the United States of America
17     that the foregoing is true and correct.
18           Executed May 19, 2022, Los Angeles, California.
19
20                                          By /s/ Howard Shneider
                                                Howard Shneider
21
                                                Deputy Federal Public Defender
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